UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

 

GOVERNMENT EMPLOYEES INSURANCE CO.,
GEICO INDEMNITY CO., GEICO GENERAL
INSURANCE COMPANY and GEICO CASUALTY

CO.,

Plaintiffs,

-against-

AXIAL CHIROPRACTIC, PC,

AXIAL CHIROPRACTIC, PC,
ACTION CHIROPRACTIC, PC
ACTION CHIROPRACTIC, PC
BRUCE BROMBERG, DC

LEFCORT MUA CHIROPRACTIC, PC
LAWRENCE LEFCORD, DC

GLENN ROSENBERG, DC, PC d/b/a SOUTH
SHORE SPINAL CARE,

GLENN ROSENBERG, DC

DAVID MARCUS COTY, DC
ROBERT LUCA, DC and

ARCHER IRBY, DC

Defendants.

Case No.: 19-CV-05570 (ENV) (SMG)

STIPULATION EXTENDING TIME
TO ANSWER COMPLAINT

IT IS HEREBY STIPULATED AND AGREED, by and between the undersigned, the
attorneys of record for the plaintiffs, and the defendants Bruce Bromberg, D.C., Axial Chiropractic,
P.C., Action Chiropractic, P.C., Glenn Rosenberg, D.C., and Glenn Rosenberg, D.C., P.C. d/b/a
South Shore Spinal Care, that the time to file their Answer to the Complaint, or otherwise move with
respect thereto, shall be extended up to and including November 30, 2019. Defendants agree that
they will not interpose any defense, whether by motion or Answer, with respect to Service of

Process.

Facsimile copies of signatures shall be deemed as originals.
Dated: November 5, 2019

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By: Max Gershonoff
RIVKIN RADLER

Attorneys for Plaintiffs

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So Ordered:

 

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By: Eitan Nof
MANDELL & 5
Attorneys for Defen
Bruce Bromberg, DC,
Axial Chiropractic, P.C.
Action Chiropractic, P.C.
Glenn Rosenberg, DC and
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